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HLED|N OPEN COURT

lN THE UNITED sTATEs DlsTRICT CoURT DATE; 06'“
FoR THE WESTERN DISTRICT 0F TENNESSEHME_ q_ 4 l
WESTERN DIVISION ' '
lNlTlALs' Plf(/H

UNITED STATES OF AMERICA, )
Plaintiff, )
)

vs. ) Cr. No. 05-20130-B
)
)
RAFAT JAMAL MAWLAWI, )
Defendant. )

 

ORDER ON MOTION TO RESCHEDULE SUPPRESSION HEARING
ANI) SPECIFYING PERIOD OF EXCLUDABLE DELAY
AND SETTING

 

Before the Court is Defendant Rafat Jamal Mawlawi’ s Unopposed Motion to Reschedule
Suppression Hearing due to the need for additional time for counsel to prepare for disposition of this
case.

For good cause shown and without opposition from the govemment, Defendant’s motion is
hereby GRANTED. The suppression hearing shall be removed from the Court’s July 2l, 2005
docket and the court will hear from the parties regarding the need for a suppression motion during
the report date currently set for August 29, 2005.

The period from July 21, 2005 to August 29, 2005 is excludable under 18 U.S.C. 3161
(h)(S)(B)(iv) because the ends of justice served in allowing for additional time to prepare outweigh
the need for a speedy trial.

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ir is so oRDERED this 1 day OfJuly, 2005.

   

 

    

J. ANIEL BREEN \
UN ED sTATEs DISTRICT JUDGE

Tti`ts document entered on the docket sheet in compliance

with Hul@§§avd/Or$€tb)FH.CFF_’”“. , '.'_ _ _\ @

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20130 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

